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 Attorneys for Plaintiffs
 TRUSTEES OF THE HAWAII SHEET
 METAL WORKERS’ TRUST FUNDS

                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 TRUSTEES OF THE HAWAII          )        CIVIL NO. ______________
 SHEET METAL WORKERS’            )
 TRUST FUNDS (Pension, Health &  )        COMPLAINT FOR SPECIFIC
 Welfare, Annuity, Training and  )        PERFORMANCE, ASSUMPSIT
 Vacation & Holiday, by their Trustees,
                                 )        AND DAMAGES; EXHIBIT “A”;
 Glenn Saito, Myron Nakata, Skye )        SUMMONS
 Matsumoto, Arthur B. Tolentino, Rick
                                 )
 V. Paulino, Jeanine Lum, Paul   )
 Fujinaga, Blake Parsons, and Aldon
                                 )
 Kaopuiki),                      )
                                 )
               Plaintiffs,       )
                                 )
       vs.                       )
                                 )
 3-D SHEETMETAL LLC, a Hawaii    )
 limited liability company,      )
                                 )
                                 )
                      Defendant. )
 _______________________________ )
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                  COMPLAINT FOR SPECIFIC PERFORMANCE,
                        ASSUMPSIT AND DAMAGES

             Come now Plaintiffs above-named by their attorneys, Weinberg,

 Roger & Rosenfeld, and for Complaint against Defendants above-named allege

 and aver as follows:



                          FIRST CAUSE OF ACTION
                         (SPECIFIC PERFORMANCE)


       1.    Plaintiffs are the Trustees of the Hawaii Sheet Metal Workers’ Trust

 Fund which consist of the Hawaii Sheet Metal Workers’ Health & Welfare Trust

 Fund, Hawaii Sheet Metal Workers Pension Trust Fund, Hawaii Sheet Metal

 Workers Training Trust Fund, Hawaii Sheet Metal Workers Vacation & Holiday

 Trust Fund and Hawaii Sheet Metal Workers Annuity Trust Fund (hereafter “Trust

 Funds”).

       2.    This action arises under the Labor-Management Relations Act, 1947,

 as amended, the Employee Retirement Income Security Act of 1974, and the

 Multiemployer Pension Plan Amendments Act of 1980, as hereinafter more fully

 appears. Jurisdiction is founded on questions arising thereunder and more

 specifically under 29 U.S.C. §§ 185(a), 1145, and 1132(a) and (f).




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       3.     At all times material herein, each of the above-named Trust Funds and

 Plan (collectively “Plaintiffs”) was, and now is, an employee benefit plan

 organized and existing under the laws of the United States and whose principal

 offices are in the City and County of Honolulu, State of Hawaii. At all times

 herein mentioned, each of the above-named Trust Funds was, and now is, an

 express trust created by a written trust agreement subject to and pursuant to Section

 302 of the Labor-Management Relations Act (29 U.S.C. § 186) and a multiple

 employer benefit plan within the meaning of Sections 3 and 4 of the Employee

 Retirement Income Security Act (29 U.S.C. §§ 1002 and 1003).

       4.     Plaintiffs are informed and believe, and thereon allege, that at times

 relevant herein Defendant 3-D SHEETMETAL, LLC, a Hawaii limited liability

 company (hereinafter “Defendant” or “Defendant 3-D” ), was, and is now, a

 Hawaii limited liability company doing business in the State of Hawaii.

       5.     On or about July 24, 2006, Defendant 3-D, by and through its

 President, David E. Ramos, Jr., executed that certain Memorandum of Agreement

 (hereinafter “Memorandum of Agreement”), with the Sheet Metal Workers

 International Association, Local Union 293, AFL-CIO (hereinafter “Union”),

 binding it to said Union’s collective bargaining and trust agreements. A true copy

 of the Memorandum of Agreement is attached herein as Exhibit “A,” and is

 incorporated by reference. Said Memorandum of Agreement by its terms



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 incorporated the then existing Master Agreement Covering Sheet Metal Workers in

 the State of Hawaii and subsequently the “Labor & Management Agreement

 Between Sheet Metal Workers International Association, Local 293 & Sheet Metal

 Contractors Association, effective March 1, 2015 through February 29, 2020,”

 and all of the amendments, modifications, changes, extensions and renewals

 thereto (hereinafter “Master Agreement”) and the various Trust Agreements

 establishing each of Plaintiffs’ trusts. By said agreement(s), Defendant 3-D

 promised to contribute and pay to the Trust Funds and Plan (hereinafter

 collectively referred to as “Trust Funds” or “Plaintiffs”) certain amounts for

 employee benefits, for work performed by Defendant 3-D’s covered employees,

 which amounts would be paid to the Trust Funds on or before the due dates as

 specified in said agreement(s), commencing on and after July 24, 2006.

       6.     By said agreement(s), Defendant 3-D promised to submit timely

 reports to the Trust Funds regarding hours worked by Defendant 3-D’s covered

 employees, which reports would be submitted to the Trust Funds on or before the

 due dates as specified in said agreement(s), commencing on and after July 24,

 2006, to permit audits of its payroll records to allow Plaintiffs to ascertain whether

 all contributions due have been paid and post a surety bond or cash-in-escrow to

 secure payment or contribution if required by the Trust Funds.




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       7.     By said agreement(s), Defendant 3-D agreed to be subject to and

 bound by all terms and conditions of the various trust agreements, and further

 promised that in the event any of Defendant 3-D’s contributions to any of the Trust

 Funds for a month are not paid or postmarked by the 20th of the month immediately

 following, such contributions are delinquent and Defendant 3-D will pay damages

 to such fund in the amount of 10% of such delinquent contributions for the first

 month and one and one half percent (1 ½ %) for each and every month thereafter

 that such delinquent contributions are not paid. Said damages being due and

 payable to such funds as liquidated damages and not as a penalty upon the date

 immediately following the date such contributions becomes delinquent and shall be

 in addition to the total of the delinquent contributions.

       8.     By virtue of said agreement(s) and 29 U.S.C. §1132(g), Plaintiffs are

 entitled to an award of liquidated damages equivalent to interest at the rate

 prescribed under 26 U.S.C. §6621 on any unpaid contributions, such amount to be

 in lieu of the above-mentioned liquidated damages, if such amount is greater than

 the above-mentioned liquidated damages.

       9.     By virtue of 29 U.S.C. § 1132(g), Plaintiffs are entitled to an award of

 interest at the rate prescribed under 26 U.S.C. § 6621 on any unpaid contributions.




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        10.   By said agreement(s), the Plaintiffs are authorized and empowered to

 have authorized representatives of the Plaintiffs’ Administrative Office examine

 and audit the payroll books and records of Defendant 3-D to permit Plaintiffs to

 determine whether Defendant 3-D is making full payment as required under said

 agreement(s).

        11.   Plaintiffs have notified Defendant 3-D and have demanded it to

 submit timely payments and reports, but Defendant 3-D has failed, neglected and

 refused to do so.

        12.   Defendant 3-D now continues to fail, neglect and refuse to submit

 timely payments and reports, and it will continue to do so unless ordered to

 specifically perform the agreement(s) to submit timely payments and reports.

 Plaintiffs have no plain, speedy and adequate remedy at law in that the reports

 must be prepared by Defendant 3-D, thus its continued refusal to submit timely

 payments and reports will give rise to a multiplicity of suits unless Defendant 3-D

 is ordered to submit timely payments and reports pursuant to said agreement(s).



                          SECOND CAUSE OF ACTION
                         (ASSUMPSIT AND DAMAGES)

        13.   Plaintiffs reallege and incorporate herein by reference each and every

 allegation set forth in paragraphs 1 to 12 of the First Cause of Action hereinabove

 set forth.


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       14.    By said written agreement(s), Defendant 3-D agreed that payment of

 employee benefit contributions to the various Trust Funds would be based upon the

 total number of hours worked by each covered employee. Defendant 3-D

 employed workers covered by the provisions of said written agreement(s), and said

 workers performed work and labor undertaken by Defendant 3-D during the time

 said agreement(s) were in full force and effect.

       15.    Defendant’s delinquencies to the Plaintiffs are as follows:

              a.     Contributions (1/12 - 11/19 reports):                  $117,493.73

              b.     Liquidated Damages (10/09 – 11/19 reports)
                     to 1/7/2020 ($57.94 per diem):                         $322,129.97

                                                GRAND TOTAL:                $439,623.70

 plus attorneys’ fees and costs, for said report periods, plus interest.

       16.    Defendant 3-D may owe Plaintiffs additional monetary payments for

 Defendant 3-D’s covered employees, the amount of which is unknown at this time

 because Defendant 3-D has neglected and refused to and submit timely reports to

 the aforesaid Trust Funds. If such moneys are owed, said amounts, together with

 liquidated damages as provided in said agreement(s), are presently due and owing

 and have not been paid.




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        17.    Defendant 3-D’s obligations to Plaintiffs, pursuant to said

 agreement(s), to make contributions are continuing obligations and Defendant 3-D

 may accrue and owe additional amounts plus liquidated damages up to the time of

 trial or proof.

        18.    At all times herein mentioned, it was, and now is, impracticable and

 extremely difficult to fix the amount of actual damages to Plaintiffs as a result of

 the non-payment of said contributions. The amounts agreed upon herein, as

 hereinbefore alleged, as and for liquidated damages, represented and now represent

 a reasonable endeavor to ascertain and compensate for the damages caused the

 Plaintiffs by the non-payment of said contributions.

        19.    By said agreement(s), Defendant 3-D further promised that if it

 became necessary for Plaintiffs to take legal action to enforce payment of

 contributions and/or liquidated damages from Defendant 3-D, it will pay all court

 and collection costs and reasonable attorneys’ fees.

        20.    By virtue of the foregoing, Plaintiffs have been damaged in the

 amount of $439,623.70 and such additional amounts as may be proven at trial of

 hearing on proof.

        21.    It has been necessary for the Plaintiffs to engage counsel for the

 purpose of collecting said contributions and liquidated damages, and Plaintiffs are

 entitled to reasonable attorney’s fees in connection therewith.



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       WHEREFORE, Plaintiffs pray for relief and judgment against Defendant 3-

 D SHEETMETAL, L.L.C., a Hawaii limited liability company, as to the First and

 Second Causes of Action hereinabove set forth, as follows:

       1.     That the Court order Defendant 3-D to submit timely reports and

 payments in accordance with said agreement(s).

       2.     That the Court order Defendant 3-D to permit Plaintiffs to audit its

 payroll books and records in accordance with said agreement(s).

       3.     That the Court awards to Plaintiffs and against Defendant such

 amounts as may be determined to be due and owing after the necessary reports

 have been provided, and/or after the necessary payroll audit has been provided,

 plus such other amounts as may be due and owing at the time of trial or proof.

       4.     That the Court award to Plaintiffs and against Defendant interest at

 the rate prescribed under 26 U.S.C. § 6621, on such amounts determined to be due

 and owing after the necessary reports have been provided, and/or after the

 necessary payroll audit has been permitted, said interest to be calculated as of the

 date(s) such amounts were due pursuant to said agreement(s). 29 U.S.C.

 § 1132(g).




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        5.     That the Court orders and compels Defendant 3-D to furnish to each

  of the Plaintiffs’ Trust Funds a surety bond or cash-in-escrow in the amount equal

  to Defendant’s last three (3) months of contributions or $5,000.00, whichever is

  greater.

        6.     That the Court awards the Plaintiffs and against the Defendant the

  sum of $117,493.73 in known January 2012 through November 2019 report

  contributions, plus interest on said contributions at the rate prescribed under 26

  U.S.C. §6621.

        7.     That the Court awards the Plaintiffs and against the Defendants

  liquidated damages for the October 2009 through November 2019 report periods as

  provided in said agreement(s) of $322,129.97, through January 7, 2020, and at

  $57.94 per diem thereafter, or an amount equal to interest at the rate under 26

  U.S.C. §1132(g), whichever is greater, on any unpaid contributions due and owing.

  29 U.S.C. §1132(g).

        8.     For entry of Judgment against Defendant for the total amount of

  $439,623.70 as set forth above, plus any additional sums as requested above and

  below.




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        9.     That the Court awards the Plaintiffs and against the Defendant such

  additional amounts, including, but not limited to, liquidated damages and interest

  on any additional audit or report contributions from their due dates, as may, by

  proof, be shown to be due and owing at the time of trial or proof.

        10.    That the Court awards the Plaintiffs and against Defendant all

  collection cost, costs of court and reasonably attorney’s fees pursuant to said

  agreement(s) or other laws. 29 U.S.C. §1132(g).

        11.    That the Court orders and awards any further and additional relief as

  the Court deems proper.

               DATED: Honolulu, Hawaii,           January 17                    , 2020.

                                             WEINBERG, ROGER & ROSENFELD

                                                      /S/ ASHLEY K. IKEDA
                                             By
                                               ASHLEY K. IKEDA
                                               JERRY P.S. CHANG
                                               Attorneys for Plaintiffs
                                               TRUSTEES OF THE HAWAII
                                               SHEET METAL WORKERS’
                                               TRUST FUNDS




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